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                  IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               Statesville Division

 In re:
                                                      Case Number: 20-50463
 Custom Design Group, LLC,
                                                      Chapter 11, Subchapter V
                                Debtor.

                              AFFIDAVIT OF DEWYONE KING

       I, Dewyone “Pedie” King, being first duly sworn, hereby depose and say under oath as
follows:

       1.    I am over 18 years of age, under no disability, and, except as otherwise stated, have
personal knowledge of the facts set forth herein.

        2.      In 2018, I invested funds in, and became a member of, the debtor in the above-
captioned bankruptcy case (this “Case”), Custom Design Group, LLC (the “Debtor”). The Debtor
was owned at that time by Richard L. Stober (“Stober”) and others, who subsequently sold their
equity interests in the Debtor. Together with Stober, I also invested in an affiliated company,
CDG-Paw, LLC (“Paw”).

       3.      The Debtor specializes in the design and production of customized apparel,
uniforms, sporting equipment, and promotional products. The Debtor does not typically
manufacture the products “in house,” but rather contracts with other companies to do that work,
primarily Paw.

      4.    For years leading up to this Case, Stober was solely responsible for the day-to-day
management of both Paw and the Debtor.

        5.      For at least six (6) months prior to the filing of this Case and until March 5, 2021,
I actively solicited Stober (and/or Stober’s sister, Teresa S. King (“Teresa”), and her husband) to
purchase my interests in the Debtor (and Paw) for no cash consideration ($0.00); rather the only
consideration sought was that my obligations to Peoples Bank under a guaranty of the Debtor’s
debt be eliminated. Also, I repeatedly offered—as an alternative option—to purchase Stober’s
interests in the Debtor (and Paw), having gone so far to ask my lawyers to draft the necessary
purchase and sale paperwork on multiple separate occasions.

       6.     On December 11, 2020, the Debtor initiated this Case by filing a voluntary petition
for bankruptcy relief, without my knowledge or consent.

        7.     On January 5, 2021, Stober’s attorney wrote my attorney a letter to inform me that,
as of three days later, January 8, 2021, Stober would no longer oversee or otherwise participate in
the management Paw’s business operations or financial affairs. As a result, I had no choice but to
begin managing Paw on a daily basis.
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        8.      After being thrust into managing Paw, I soon learned that not only was the Debtor
not paying Paw for services rendered post-petition, but also that Debtor had not been paying Paw
for services rendered for at least one year prior to initiation of this Case.

         9.    The Debtor is Paw’s largest customer, comprising the vast majority of orders
fulfilled by Paw on both a volume and value basis.

      10.     On March 5, 2021, upon purchasing Stober’s interests in the Debtor (and Paw), I
became the sole manager and officer of the Debtor.

       11.      After assuming control of the Debtor in March, I have become increasingly familiar
with the assets, liabilities, business operations, and financial affairs of the Debtor.

       12.    Prior to bankruptcy, the Debtor defaulted on various loans payable to the Debtor’s
primary secured lender, which lender sent the demand letters attached hereto as Exhibit 1 to me
and the Debtor in November of 2020.

        13.    Also immediately after I assumed control of the Debtor in March, Peoples Bank
threatened emergency action, including seeking relief from stay on short notice, to foreclose on
the Debtor’s assets based on the Debtor’s declining cash position over the course of the first quarter
in 2021. To prevent such action, I paid Peoples Bank $49,000.00 in April from my personal funds.

        14.     Due to various cash crunches that have occurred since I assumed control of the
Debtor, I have infused an aggregate of $55,000 from my own funds into the Debtor in emergency
situations to keep the Debtor operating.

        15.      I also had to use my own funds to pay a $10,000 retainer to the Debtor’s counsel
shortly after I took over the Debtor’s operations.

       16.      Likewise, after assuming control of Paw in January, I have become increasingly
familiar with the assets, liabilities, business operations, and financial affairs of Paw.

       17.      A copy of the Paw’s 2020 end-of-year balance sheet—created while Paw was under
the control of Stober—is attached hereto as Exhibit 2 (the “Paw Balance Sheet”).

       18.     Ignoring both (i) accounts receivable from the Debtor and loans receivable from
the Debtor and (ii) the “goodwill” Stober booked for Paw, the Paw Balance Sheet shows less than
$400,000 in total assets, before accounting for depreciation of equipment, furniture, and fixtures.

        19.     Similarly, the Paw Balance Sheet shows Total Equity of $263,436.67. After
adjusting that figure for the $299,379.98 in accounts receivable from the Debtor and $193,338.47
in loans receivable from the Debtor (the vast majority of which will never be paid), the Paw
Balance Sheet shows Total Equity of NEGATIVE $229,281.78, even assuming the $825,000 in
goodwill is an accurate and reliable figure.

       20.     As with the Debtor, Stober passed Paw to me in a dire cash situation. Since taking
over Paw’s operations in January, I have infused an aggregate of $219,470 from my own funds
into Paw to keep Paw operating.
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       21.    I have asked Teresa to help bear the burden of the various cash infusions into the
Debtor and/or Paw by investing fresh cash from her own funds, but she has refused.

        22.    On information and belief, Teresa asserts that she owns a one-third (1/3) economic
interest in Paw based on her $550,000 loan to the Debtor, plus an equitable interest in the Debtor
and/or unsecured claim against the Debtor in the amount of at least $550,000.

       23.     On July 2, 2021, I authorized the Debtor to file the Debtor’s Second Amended Plan
of Reorganization (the “Plan”).1 I provided input, and otherwise participated, in the preparation
and drafting of the Plan and am generally familiar with the provisions thereof.

       24.     As the Plan calls for a transfer of the Debtor’s assets to a new company (“Newco”),
the Plan does not contemplate the Debtor making payments to creditors out of income generated
from future business operations.

         25.    Nevertheless, hypothetical financial projections are attached to the Plan as
Exhibit B, which predict the Debtor’s ability to make payments under a theoretical payment plan
that is not actually called for under the Plan.

        26.     The projections provided in the Plan are my best estimate of an average monthly
budget over the course of the next approximately three to five years, which, at this time, I anticipate
will be relatively stable over time.

       27.    To the best of my knowledge and understanding, the Plan has been proposed in
good faith and not by any means forbidden by law. To the best of my knowledge and
understanding, the Plan complies with all applicable provisions of the Bankruptcy Code.

        28.    To the best of my knowledge and ability, I have caused the Debtor to comply with
all applicable provisions of the Bankruptcy Code since I became the Debtor’s sole manager on
March 5, 2021.

       29.     All requests for compensation to be paid to professionals for services rendered in
connection with this Case have been, or will be, submitted for Court approval prior to the payment
of such fees and expenses.

         30.     After confirmation of the Plan, I would continue to serve as the Debtor’s manager
for purposes of distributing the proceeds of the sale to Newco, filing any residual tax returns,
facilitating the transition from the Debtor to Newco, and otherwise overseeing the winding down
of the Debtor.

       31.    There is no rate change provided for in the Plan that would require governmental
regulatory commission approval.

       32.      As evidenced by the liquidation analysis attached to the Plan as Exhibit A, each
holder of a claim or interest impaired by the Plan will receive or retain property of a value that is


1
        Capitalized terms not otherwise defined herein shall have the meanings set forth in the Plan.
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not less than the holder would have received if the Debtor was liquidated through chapter 7 of the
Bankruptcy Code.

        33.     If the claim or interest asserted by Teresa King (“Teresa”) is considered an equity
interest, then all classes of claims or interests are deemed to have accepted the plan.

       34.     The value of the property to be distributed through the Debtor’s bankruptcy estate
under the Plan exceeds five year’s worth of the Debtor’s projected disposable income under a
hypothetical or theoretical payment plan.

       35.    The class of equity interests—the only class of claims or interests junior to the
general unsecured creditor class—will not receive or retain any property through the Plan.

       36.     The Plan provides that the claims in classes that fall under §§ 507(a)(4) and
507(a)(8) will be paid in full.

       37.     The Plan has been accepted by at least one impaired class.

       38.    The filing fee—and all required quarterly fees—in this Case have been paid on the
Debtor’s behalf.

       39.     The Debtor has not obligated itself to pay any type of retiree benefit described in
§ 1114.

       40.     The Debtor is not required to pay domestic support obligations.

       41.     The Debtor is not an individual.

       42.     All transfers of property under the Plan will be made in accordance with any
applicable provisions of nonbankruptcy law.

      43.   I am familiar with the facts as set forth in this Affidavit. I make this Affidavit based
upon my own personal knowledge of the facts set forth herein and as my free and voluntary act.

       This is the 20th day of August, 2021.


                                                     Dewyone “Pedie” King
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                               EXHIBIT 2
